


  ORDER
 

  The Office of Disciplinary Counsel (“ODC”) commenced an investigation into numerous complaints of serious professional misconduct filed against respondent. These matters involve a pattern by respondent of accepting fees from clients in post-conviction relief matters, failing to complete the agreed upon legal tasks, and then failing or refusing to refund the unearned fees. Respondent now seeks to permanently resign from the practice of law in
   
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  lieu of discipline. The ODC has concurred in respondent’s petition.
 

  Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Kenota L. Pul-liam, Louisiana Bar Roll number 27612, and the concurrence thereto filed by the ODC,
 

  IT IS ORDERED that the request of Kenota L. Pulliam for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
 

  IT IS FURTHER ORDERED that Kenota L. Pulliam shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which she is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which she is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
 

  /s/ John L. Weimer
 

  Justice, Supreme Court of Louisiana
 
